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                   IN THE UNITED STATES BANKRUPTCY COURT
               NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 IN RE:                                             *      CASE NO.: 18-63656-sms
 Taishia Temiko Rice,                               *
 AKA Taishia Rice; AKA Taishia Duke; AKA            *
 Taishia T Duke; AKA Taishia T Rice,                *
                                                    *       CHAPTER: 13
                                                    *
                                                    *
 Debtor                                             *


           NOTICE OF FILING OF MODIFICATION OF CONFIRMED PLAN,
               DEADLINE FOR FILING WRITTEN OBJECTIONS AND
            HEARING DATE AND TIME IF OBJECTION IS TIMELY FILED

       To: Creditors and Other Parties in Interest

PLEASE TAKE NOTICE that Taishia Temiko Rice filed a proposed modification to
the confirmed plan in this case, a copy of which modification you are receiving with the
notice or have recently received by mail. Pursuant to Rule 3015(g) of the Federal Rules
of Bankruptcy procedure, any creditor or other party in interest opposing this proposed
modification must file that objection in writing with the Court on or before the following
deadline.

       DEADLINE FOR FILING OBJECTION: Twenty-four (24) days after the date on
which their proposed Modification was filed. The proposed modification was filed on
  10/22/20
________________________.        If the twenty-fourth day after the date of service falls on a week-
end or holiday, the deadline is extended to the next business day.

PLACE OF FILING:

US Courthouse
Clerks Office Room 1340
75 Ted Turner Drive, SW
Atlanta, GA 30303

       If you mail an objection to the Court for filing, you must mail it early enough so the
Court will receive it on or before the date stated above.



You must also serve a copy on the undersigned at the address stated below and on the Debtor at:
1952 Bridgestone Circle Conyers GA, 30012.
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        PLEASE TAKE FURTHER NOTICE that if an objection to the proposed Modification
is timely filed, the Court will hold a hearing on the modification in Court Room 1201 (12th
Floor) of the US Courthouse, 75 Ted Turner Drive, SW, Atlanta, GA 30303, at 9:50AM, on
December 1, 2020. If no objection is timely filed, the proposed Modification will be effective
pursuant to 11 U.S.C.§1329(b)(2) as part of the Confirmed Plan without further order or
notice.

“Given the current public health crisis, hearings may be telephonic
only. Please check the “Important Information Regarding Court
Operations During COVID-19 Outbreak” tab at the top of the
GANB Website prior to the hearing for instructions on whether to
appear in person or by phone.”



                                                  DATED: 10/22/20

                                                  /s/
                                                  Thomas Reichard, GA Bar No. 150822
                                                  Attorneys for Debtor



       Clark & Washington PC
       3300 NE Expy NE - Bldg 3
       Atlanta, Ga. 30341
       (P) 404-522-2222
       (F) 770-220-0685
            Case 18-63656-sms                             Doc 57      Filed 10/22/20 Entered 10/22/20 08:41:09                       Desc Main
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 Fill in this information to identify your case:
 Debtor 1           Taishia Temiko Rice
                         First Name                 Middle Name            Last Name
 Debtor 2
 (Spouse, if filing)     First Name                 Middle Name            Last Name
                                                                                                                      Check if this is an amended plan, and
 United States Bankruptcy Court for the NORTHERN DISTRICT OF GEORGIA -                                                list below the sections of the plan that
 ATLANTA DIVISION                                                                                                     have been changed. Amendments to
                                                                                                                      sections not listed below will be
                                                                                                                      ineffective even if set out later in this
 Case number:            18-63656-SMS                                                                                 amended plan.
 (If known)                                                                                                           3.1, 3.2, 4.3


Post Confirmation Chapter 13 Plan Modification
NOTE:                      The United States Bankruptcy Court for the Northern District of Georgia adopted this form plan for use in Chapter 13
                           cases in the District pursuant to Federal Rule of Bankruptcy Procedure 3015.1. See Order Requiring Local Form for
                           Chapter 13 Plans and Establishing Related Procedures, General Order No. 21-2017, available in the Clerk’s Office and on
                           the Bankruptcy Court’s website, ganb.uscourts.gov. As used in this plan, “Chapter 13 General Order” means General
                           Order No. 21-2017 as it may from time to time be amended or superseded.

 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate that
                           the option is appropriate in your circumstances. Plans that do not comply with the United States Bankruptcy Code, local rules and
                           judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies.

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           Check if applicable.

                               The plan provides for the payment of a domestic support obligation (as defined in 11 U.S.C. § 101(14A)), set out in §
                               4.4.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless the Bankruptcy Court orders otherwise.
                           The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule
                           3015.

                           To receive payments under this plan, you must have an allowed claim. If you file a timely proof of claim, your claim is deemed
                           allowed unless a party in interest objects. See 11 U.S.C. § 502(a).

                           The amounts listed for claims in this plan are estimates by the debtor(s). An allowed proof of claim will be
                           controlling, unless the Bankruptcy Court orders otherwise.

                           The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or
                           not the plan includes each of the following items. If an item is checked as “Not included,” if both boxes are
                           checked, or if no box is checked, the provision will be ineffective even if set out later in the plan.

 § 1.1        A limit on the amount of a secured claim, that may result in a partial payment or no               Included                   Not Included
              payment at all to the secured creditor, set out in § 3.2
 § 1.2        Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                Included                   Not Included
              set out in § 3.4
 § 1.3        Nonstandard provisions, set out in Part 8.                                                         Included                   Not Included




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 Part 2:      Plan Payments and Length of Plan; Disbursement of Funds by Trustee to Holders of Allowed Claims

§ 2.1        Regular Payments to the trustee; applicable commitment period.


             The applicable commitment period for the debtor(s) as set forth in 11 U.S.C. § 1325(b)(4) is:

                Check one:                    36 months                 60 months

             Debtor(s) will make regular payments (“Regular Payments”) to the trustee as follows:

The debtor(s) will pay $511.00 per month for the applicable commitment period. If the applicable commitment period is 36 months, additional
Regular Payments will be made to the extent necessary to make the payments to creditors specified in this plan, not to exceed 60 months unless the
Bankruptcy Court orders otherwise. If all allowed claims treated in § 5.1 of this plan are paid in full prior to the expiration of the applicable
commitment period, no further Regular Payments will be made.

Check if applicable.
  The amount of the Regular Payment will change as follows (If this box is not checked, the rest of § 2.1 need not be completed or reproduced.
   Insert additional lines as needed for more changes.):


§ 2.2        Regular Payments; method of payment.

             Regular Payments to the trustee will be made from future income in the following manner:

             Check all that apply:
                      Debtor(s) will make payments pursuant to a payroll deduction order. If a deduction does not occur, the debtor(s) will pay to the
                      trustee the amount that should have been deducted.

                          Debtor(s) will make payments directly to the trustee.

                          Other (specify method of payment):


§ 2.3        Income tax refunds.

             Check one.

                          Debtor(s) will retain any income tax refunds received during the pendency of the case.

                          Debtor(s) will (1) supply the trustee with a copy of each income tax return filed during the pendency of the case within 30 days
                          of filing the return and (2) turn over to the trustee, within 30 days of the receipt of any income tax refund during the applicable
                          commitment period for tax years 2018, 2019, 2020 , the amount by which the total of all of the income tax refunds
                          received for each year exceeds $2,000 (“Tax Refunds”), unless the Bankruptcy Court orders otherwise. If debtor's spouse is not a
                          debtor in this case, "tax refunds received" means those attributable to the debtor.

                          Debtor(s) will treat tax refunds (“Tax Refunds”) as follows:


§ 2.4        Additional Payments.

             Check one.

                          None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

§ 2.5        [Intentionally omitted.]

§ 2.6        Disbursement of funds by trustee to holders of allowed claims.

             (a) Disbursements before confirmation of plan. The trustee will make preconfirmation adequate protection payments to holders of
                 allowed claims as set forth in §§ 3.2 and 3.3.



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             (b) Disbursements after confirmation of plan. Upon confirmation, after payment of the trustee’s statutory fee, the trustee will disburse
                 Regular Payments, Additional Payments, and Tax Refunds that are available for disbursement to make payments to holders of allowed
                 claims as follows:

                           (1) First disbursement after confirmation of Regular Payments. In the first disbursement after confirmation, the trustee will
                           disburse all available funds from Regular Payments in the following order:

                                (A) To pay any unpaid preconfirmation adequate protection payments required by 11 U.S.C. § 1326(a)(1)(C) as set forth in §
                                3.2, § 3.3, and orders of the Bankruptcy Court;

                                (B) To pay fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3;

                                (C) To make payments pro rata based on the monthly payment amount: on secured claims as set forth in §§ 3.1, 3.2, 3.3, and
                                3.4; on domestic support obligations as set forth in § 4.4; on the arrearage claims on nonpriority unsecured claims as set forth
                                in § 5.2; and on executory contracts and unexpired leases as set forth in § 6.1; and

                                (D) To pay claims in the order set forth in § 2.6(b)(3).

                           (2) Second and subsequent disbursement after confirmation of Regular Payments. In the second disbursement after
                           confirmation, and each month thereafter, the trustee will disburse all available funds from Regular Payments in the order below.
                           All available Regular Payments will be distributed to the claims in each paragraph until such claims are paid in full.

                                (A) To make concurrent monthly payments, including any amount past due under this plan: on secured claims as set forth in
                                §§ 3.1, 3.2, 3.3, and 3.4; on fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3; on domestic
                                support obligations as set forth in § 4.4; on the arrearage claims on both nonpriority unsecured claims as set forth in § 5.2 and
                                executory contracts and unexpired leases as set forth in § 6.1;

                                (B) To make pro rata payments on administrative expenses allowed under 11 U.S.C. § 503(b) other than the trustee’s fee and
                                the debtor’s attorney’s fees, expenses, and costs; and

                                (C) To pay claims in the order set forth in § 2.6(b)(3).

                           (3) Disbursement of Additional Payments and Tax Refunds. The trustee will disburse the Additional Payments and Tax
                           Refunds in the following order:

                                (A) To pay fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3;

                                (B) To make pro rata payments on administrative expenses allowed under 11 U.S.C. § 503(b) other than the trustee’s fee and
                                the debtor’s attorney’s fees, expenses, and costs;

                                (C) To make payments pro rata based on the monthly payment amount: on secured claims as set forth in §§ 3.1, 3.2, 3.3, and
                                3.4; on domestic support obligations as set forth in § 4.4; on the arrearage claims on both nonpriority unsecured claims as set
                                forth in § 5.2 and executory contracts and unexpired leases as set forth in § 6.1;

                                (D) To pay other Allowed Secured Claims as set forth in § 3.6;

                                (E) To pay allowed claims entitled to priority under 11 U.S.C. § 507, other than administrative expenses and domestic support
                                obligations; and

                                (F) To pay nonpriority unsecured claims not otherwise classified as set forth in § 5.1 (“Unclassified Claims”) and to pay
                                nonpriority unsecured claims separately classified as set forth in § 5.3 (“Classified Claims”). The trustee will estimate the
                                total amounts to be disbursed during the plan term (1) to pay Unclassified Claims and (2) to pay Classified Claims. Funds
                                available for disbursement on these claims will be allocated pro rata to each class, and the funds available for disbursement
                                for each class will be paid pro rata to the creditors in the class.

                           (4) Unless the debtor(s) timely advise(s) the trustee in writing, the trustee may treat and disburse any payments received from the
                           debtor(s) as Regular Payments.

 Part 3:      Treatment of Secured Claims

§ 3.1        Maintenance of payments and cure of default, if any.

             Check one.

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                          None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
                          Beginning with the first payment that is due after the date of the order for relief under Chapter 13, the debtor(s) will maintain the
                          current contractual installment payments on the secured claims listed below, with any changes required by the applicable
                          contract and noticed in conformity with any applicable rules. These payments will be disbursed directly by the debtor(s). Any
                          existing arrearage on a listed claim will be paid in full through disbursements by the trustee, with interest, if any, at the rate
                          stated below.

                  If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless the Bankruptcy Court
                  orders otherwise, all payments under this paragraph as to that collateral will cease, and all secured claims based on that collateral
                  will no longer be treated by the plan.
 Name of creditor                  Collateral                       Estimated amount of arrearage            Interest rate    Monthly plan payment
                                                                    (if any)                                 on arrearage on arrearage
                                                                                                             (if applicable)


                                               1952 Bridgestone Circle
 Bridgestone Village HOA                       Conyers, GA 30012                                                                                  $50.00
                                               Rockdale County              $1,800.00                                     0.00%        (CLAIM NOT FILED)


                                               1952 Bridgestone Circle                                                           $115.00 increasing to
 Wells Fargo                                   Conyers, GA 30012                                                                  $295.00 in July 2020
                                               Rockdale County              $14,367.73                                    0.00% (CLAIM PAID IN FULL)

                                                                            $9,065.00
                                                                            (Post petition mortgage
                                               1952 Bridgestone Circle      payments as the result of the
                                               Conyers, GA 30012            temporary forbearance from
 Wells Fargo Bank, N.A.                        Rockdale County              April thru September 2020)                    0.00%                               $330.00


§ 3.2        Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.


                          None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                          The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                          The debtor(s) request(s) that the Bankruptcy Court determine the value of the secured claims listed below.

                          For each non-governmental secured claim listed below, the debtor(s) state(s) that the value of the secured claim should be as set
                          out in the column headed Amount of secured claim. For secured claims of governmental units, unless the Bankruptcy Court
                          orders otherwise, the value of a secured claim listed in a proof of claim filed in accordance with the Bankruptcy Rules controls
                          over any contrary amount listed below. For each creditor checked below, debtor(s) will file a motion pursuant to Bankruptcy
                          Rule 3012 and the Chapter 13 General Order to request determination of the amount of the secured claim.

                          For each listed claim below, the value of the secured claim will be paid in full with interest at the rate stated below. The portion
                          of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of this plan.
                          If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be treated in its
                          entirety as an unsecured claim under Part 5 of this plan.

                          The trustee will make monthly preconfirmation adequate protection payments that 11 U.S.C. § 1326(a)(1)(C) requires to the
                          creditor in the amount set out in the column headed Monthly preconfirmation adequate protection payment.

                          The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the
                          property interest of the debtor(s) or the estate(s) until the earlier of:

                          (a) payment of the underlying debt determined under nonbankruptcy law, or

                          (b) payment of the amount of the secured claim, with interest at the rate set forth below, and discharge of the underlying debt
                          under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.



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 Check Name of creditor                    Estimated            Collateral    Value of     Amount of     Amount of Interest Monthly pre- Monthly post
 only if                                   amount of            and date of   collateral   claims        secured   rate     confirmation -confirmation
 motion                                    total claim          purchase                   senior to     claim              adequate     payment
 to be                                                                                     creditor's                       protection
 filed                                                                                     claim                            payment
                                                                2006 Ford
                                                                Explorer
                                                                130000
                                                                miles                                                                               $79.00
                                                                                                         $3,700.00    5.50%            $79.00 (CLAIM PAID
              DriveTime                    $3,700.00            2013          $6,100.00          $0.00                                           IN FULL)


 § 3.3       Secured claims excluded from 11 U.S.C. § 506.

     Check one.

                          None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

§ 3.4        Lien avoidance.

Check one.

                          None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

§ 3.5        Surrender of collateral.

             Check one.

                          None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
                          The debtor(s) elect(s) to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s)
                          request(s) that, upon confirmation of this plan, the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that
                          the stay under § 1301 be terminated in all respects. Confirmation of the plan results in termination of such stays. Any allowed
                          unsecured claim resulting from the disposition of the collateral will be treated in Part 5 below. No payments as to the collateral
                          will be made, and all secured claims based on the collateral will not otherwise be treated by the plan.

 Name of Creditor                                                              Collateral
 1st Franklin Financial                                                        1994 Ford Taurus GL 150000 miles


 § 3.6       Other Allowed Secured Claims.

           A proof of claim that is filed and allowed as a secured claim, but is not treated as a secured claim in this plan, shall be paid with interest at the
             rate of 5.25 %. Payments will commence as set forth in § 2.6. Notwithstanding the foregoing, the debtor(s), and any other party in
             interest, may: object to allowance of the claim; request that the Bankruptcy Court determine the value of the secured claim if modification
             of the claim is permissible and if 11 U.S.C. § 506 is applicable; or request that the Bankruptcy Court avoid the creditor’s lien pursuant to 11
             U.S.C. § 522(f), if applicable.

           If the Bankruptcy Court determines the value of the secured claim, the portion of any allowed claim that exceeds the amount of the secured
              claim will be treated as an unsecured claim under Part 5 of this plan.

           The holder of the claim will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier of:

           (a) payment of the underlying debt determined under nonbankruptcy law, or

           (b) payment of the amount of the secured claim, with interest at the rate set forth above, and discharge of the underlying debt under 11 U.S.C.
             § 1328, at which time the lien will terminate and be released by the creditor.

 Part 4:      Treatment of Fees and Priority Claims

§ 4.1        General.



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             Trustee’s fees and all allowed priority claims will be paid in full without postpetition interest. An allowed priority claim will be paid in full
             regardless of whether it is listed in § 4.4.

§ 4.2        Trustee’s fees.

             Trustee’s fees are governed by statute and may change during the course of the case.

§ 4.3        Attorney’s fees.

             (a) The unpaid fees, expenses, and costs owed to the attorney for the debtor(s) in connection with legal representation in this case are
             $ 4,500.00 . The allowance and payment of the fees, expenses and costs of the attorney for the debtor(s) are governed by General
             Order 22-2017 (“Chapter 13 Attorney’s Fees Order”), as it may be amended.

             (b) Upon confirmation of the plan, the unpaid amount shall be allowed as an administrative expense under 11 U.S.C. § 503(b) to the extent
             set forth in the Chapter 13 Attorney’s Fees Order.

             (c) The Bankruptcy Court may allow additional fees, expenses, and costs to the attorney for debtor(s) in excess of the amount shown in §
             4.3(a) above upon application of the attorney in compliance with the Chapter 13 Attorney’s Fees Order and after notice and a hearing.

             (d) From the first disbursement after confirmation, the attorney will receive payment under § 2.6(b)(1) up to the allowed amount set forth in
             § 4.3(a).

             (e) The unpaid balance and any additional amounts allowed under § 4.3(c) will be payable (1) at $ 125.00 per month from Regular
             Payments and (2) from Tax Refunds or Additional Payments, as set forth in § 2.6, until all allowed amounts are paid in full.

             (f) If the case is converted to Chapter 7 before confirmation of the plan, the debtor(s) direct(s) the trustee to pay to the attorney for the
             debtor(s) the amount of $ 2,500.00 , not to exceed the maximum amount that the Chapter 13 Attorney’s Fees Order permits. If the
             attorney for the debtor(s) has complied with the applicable provisions of the Chapter 13 Attorney’s Fees Order, the trustee will deliver,
             from the funds available, the stated amount or the maximum amount to the attorney, whichever is less.

             (g) If the case is dismissed before confirmation of the plan, fees, expenses, and costs of the attorney for the debtor(s) in the amount of
             $ 2,500.00 , not to exceed the maximum amount that the Chapter 13 Attorney’s Fees Order permits, will be allowed to the extent set
             forth in the Chapter 13 Attorney’s Fees Order. The attorney may file an application for fees, expenses, and costs in excess of the maximum
             amount within 10 days from entry of the order of dismissal. If the attorney for the debtor(s) has complied with the applicable provisions of
             the Chapter 13 Attorney’s Fees Order, the trustee will deliver, from the funds available, the allowed amount to the attorney.

             (h) If the case is converted to Chapter 7 after confirmation of the plan, the debtor(s) direct(s) the trustee to deliver to the attorney for the
             debtor(s), from the funds available, any allowed fees, expenses, and costs that are unpaid.

             (i) If the case is dismissed after confirmation of the plan, the trustee will pay to the attorney for the debtor(s), from the funds available, any
             allowed fees, expenses, and costs that are unpaid.

§ 4.4        Priority claims other than attorney’s fees.

                          None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

             (a) Check one.


                          The debtor(s) has/have no domestic support obligations. If this box is checked, the rest of § 4.4(a) need not be completed or
                          reproduced.

             (b) The debtor(s) has/have priority claims other than attorney’s fees and domestic support obligations as set forth below:

  Name of creditor                                                                                     Estimated amount of claim
  Georgia Department of Revenue                                                                        $1,231.84
  Internal Revenue Service                                                                             $1,652.52


 Part 5:      Treatment of Nonpriority Unsecured Claims

§ 5.1        Nonpriority unsecured claims not separately classified.


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             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata, as set forth in § 2.6. Holders of these claims
             will receive:

             Check one.

                  A pro rata portion of the funds remaining after disbursements have been made to all other creditors provided for in this plan.

                A pro rata portion of the larger of (1) the sum of $         and (2) the funds remaining after disbursements have been made to all other
             creditors provided for in this plan.

                The larger of (1)      % of the allowed amount of the claim and (2) a pro rata portion of the funds remaining after disbursements have
             been made to all other creditors provided for in this plan.

                  100% of the total amount of these claims.

             Unless the plan provides to pay 100% of these claims, the actual amount that a holder receives will depend on (1) the amount of claims
             filed and allowed and (2) the amounts necessary to pay secured claims under Part 3 and trustee’s fees, costs, and expenses of the attorney
             for the debtor(s), and other priority claims under Part 4.

§ 5.2        Maintenance of payments and cure of any default on nonpriority unsecured claims.

             Check one.

                          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

§ 5.3        Other separately classified nonpriority unsecured claims.

             Check one.

                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

 Part 6:      Executory Contracts and Unexpired Leases

§ 6.1        The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected.

             Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.


 Part 7:      Vesting of Property of the Estate

§ 7.1        Unless the Bankruptcy Court orders otherwise, property of the estate shall not vest in the debtor(s) on confirmation but will vest in
             the debtor(s) only upon: (1) discharge of the debtor(s); (2) dismissal of the case; or (3) closing of the case without a discharge upon
             the completion of payments by the debtor(s).

 Part 8:      Nonstandard Plan Provisions

§ 8.1        Check "None" or List Nonstandard Plan Provisions.

                          None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

 Part 9:      Signatures:

§ 9.1        Signatures of Debtor(s) and Attorney for Debtor(s).

             The debtor(s) must sign below. The attorney for the debtor(s), if any, must sign below.

 X      /s/ Taishia Temiko Rice                                                      X
        Taishia Temiko Rice                                                               Signature of debtor 2 executed on
        Signature of debtor 1 executed on                  10/18/2020


U.S. Bankruptcy Court, N.D. Ga. Chapter 13 Plan Form (April 2018), Version 1.3                                                         Page 7 of 8
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            Case 18-63656-sms                             Doc 57      Filed 10/22/20 Entered 10/22/20 08:41:09          Desc Main
                                                                     Document     Page 10 of 14
 Debtor                Taishia Temiko Rice                                                   Case number


 X     /s/ Thomas Reichard                                                     Date: 10/18/2020
       Thomas Reichard
       GA Bar No. 150822
       Signature of attorney for debtor(s)

       Clark & Washington, LLC
       3300 NE Expressway
       Building 3
       Atlanta, GA 30341
       (404) 522-2222
       (770) 220-0685 - fax

By filing this document, the debtor(s), if not represented by an attorney, or the attorney for debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 Plan are identical to those contained in the Local Form for Chapter 13 Plans that the Bankruptcy
Court for the Northern District of Georgia has prescribed, other than any nonstandard provisions included in Part 8.




U.S. Bankruptcy Court, N.D. Ga. Chapter 13 Plan Form (April 2018), Version 1.3                                              Page 8 of 8
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                                        Document     Page 11 of 14



                                       CERTIFICATE OF SERVICE


       I the undersigned certify under penalty of perjury that on this day I served the following parties with a
copy of the attached “Post-Confirmation Modification of Plan and Request for its Approval” by placing true
copies of same in the United States Mail with adequate postage affixed to insure delivery, addressed to:


Taishia Temiko Rice
1952 Bridgestone Circle
Conyers GA, 30012


       I further certify that Mary Ida Townson, the Chapter 13 Trustee, was served via the ECF electronic
mail/noticing system.

       And, In the same manner, I served the parties listed on the attached matrix at the addresses indicated
therein,




                                                    DATED: 10/22/20

                                                    /s/
                                                    Thomas Reichard, GA Bar No. 150822
                                                    Attorneys for Debtor




       Clark & Washington PC
       3300 NE Expy NE - Bldg 3
       Atlanta, Ga. 30341
       (P) 404-522-2222
       (F) 770-220-0685
Case 18-63656-sms        Doc 57    Filed 10/22/20 Entered 10/22/20 08:41:09            Desc Main
                                  Document     Page 12 of 14



                   IN THE UNITED STATES BANKRUPTCY COURT
               NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 IN RE:                                            *      CASE NO.: 18-63656-sms
 Taishia Temiko Rice,                              *
 AKA Taishia Rice; AKA Taishia Duke; AKA           *
 Taishia T Duke; AKA Taishia T Rice,
                                                   *            CHAPTER: 13
                                                   *
                                                   *
                     Debtor                        *
              UNSWORN DECLARATION UNDER PENALTY OF PERJURY


        I, Taishia Temiko Rice, hereby certify under penalty of perjury that I have direct
 knowledge of the information in the attached pleading and it is true and correct to my best belief.

        Signed: s/                                                   Date: 10/18/2020
                Taishia Temiko Rice
               Case 18-63656-sms               Doc 57   Filed 10/22/20          Entered 10/22/20 08:41:09      Desc Main
Label Matrix for local noticing                    1st Document
                                                       Franklin FinancialPage 13 of 14           1st Franklin Financial Corporation
113E-1                                             Pob 80009                                     Attn: Adminstrative Services
Case 18-63656-sms                                  Conyers, GA 30013-8009                        PO Box 880
Northern District of Georgia                                                                     Toccoa, GA 30577-0880
Atlanta
Wed Oct 21 13:08:01 EDT 2020
Bridgecrest Credit Company LLC                     Bridgestone Village HOA                       E. L. Clark
PO Box 29018                                       P. O. Box 2750                                Clark & Washington, LLC
Phoenix AZ 85038-9018                              Loganville, GA 30052-1964                     Bldg. 3
                                                                                                 3300 Northeast Expwy.
                                                                                                 Atlanta, GA 30341-3932

(p)CARTER YOUNG INC                                DriveTime                                     (p)GEORGIA DEPARTMENT OF REVENUE
882 N MAIN STREET                                  PO Box 53087                                  COMPLIANCE DIVISION
SUITE 120                                          Phoenix, AZ 85072-3087                        ARCS BANKRUPTCY
CONYERS GA 30012-4442                                                                            1800 CENTURY BLVD NE SUITE 9100
                                                                                                 ATLANTA GA 30345-3202

Emmett L. Goodman Jr.                              Greystone OB/Gyn                              Inphynet Primary Care Physician SE, PC
Emmett L. Goodman, Jr., LLC                        3140 Avalon Blvd.                             PO Box 1123
544 Mulberry Street                                Conyers, GA 30013                             Minneapolis, MN 55440-1123
Suite 800
Macon, GA 31201-2776

Internal Revenue Service                           LVNV Funding, LLC                             LVNV Funding, LLC its successors and assigns
401 W. Peachtree St., NW                           Resurgent Capital Services                    assignee of Arrow Financial Svcs, LLC
Stop #334-D                                        PO Box 10587                                  Resurgent Capital Services
Room 400                                           Greenville, SC 29603-0587                     PO Box 10587
Atlanta, GA 30308                                                                                Greenville, SC 29603-0587

LVNV Funding, LLC its successors and assigns       Linder Rice                                   MILSTEAD PATHOLOGY, PC
PO Box 10587                                       1150 Sigman Rd. NE                            CARTER-YOUNG, INC
Greenville, SC 29603-0587                          Apt. V171                                     882 N MAIN ST, STE 120
                                                   Conyers, GA 30012-3866                        CONYERS, GA 30012-4442


Bryce R. Noel                                      North American Credit Services                PRA Receivables Management, LLC
Aldridge Pite, LLP                                 Po Box 182221                                 PO Box 41021
3575 Piedmont Road, NE, Suite 500                  Chattanooga, TN 37422-7221                    Norfolk, VA 23541-1021
Fifteen Piedmont Center
Atlanta, GA 30305-1527

Piedmont Rockdale Hospital                         Piedmont Rockdale Medical Center              ROCKDALE MEDICAL CENTER ER PHYSICIANS
Resurgent Capital Services                         1412 Milstead Avenue                          C/O KEVIN B WILSON LAW OFFICES
PO Box 1927                                        Conyers, GA 30012-3877                        2810 WALKER RD STE 102
Greenville, SC 29602-1927                                                                        CHATTANOOGA TN 37421-1082


Taishia Temiko Rice                                Santander Consumer USA                        Synchrony Bank
1952 Bridgestone Circle                            Po Box 961245                                 c/o PRA Receivables Management, LLC
Conyers, GA 30012-3793                             Fort Worth, TX 76161-0244                     PO Box 41021
                                                                                                 Norfolk, VA 23541-1021


Mary Ida Townson                                   United States Attorney                        Verizon
Chapter 13 Trustee                                 Northern District of Georgia                  by American InfoSource as agent
Suite 1600                                         75 Ted Turner Drive SW, Suite 600             4515 N Santa Fe Ave
285 Peachtree Center Ave, NE                       Atlanta GA 30303-3309                         Oklahoma City, OK 73118-7901
Atlanta, GA 30303-1259
               Case 18-63656-sms             Doc 57       Filed 10/22/20         Entered 10/22/20 08:41:09              Desc Main
Verizon                                             WELLS FARGO BANK, N.A.Page 14 of 14
                                                       Document                                          (p)WELLS FARGO BANK NA
by American InfoSource as agent                     MAC N9286-01Y                                        WELLS FARGO HOME MORTGAGE AMERICAS SERVICING
PO Box 248838                                       1000 Blue Gentian Road                               ATTN BANKRUPTCY DEPT MAC X7801-014
Oklahoma City, OK 73124-8838                        Eagan, MN 55121-7700                                 3476 STATEVIEW BLVD
                                                                                                         FORT MILL SC 29715-7203

Wells Fargo Bank, N.A.
Default Document Processing
N9286-01Y
1000 Blue Gentian Road
Eagan MN 55121-7700



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Collectron Of Atlanta/Carter-Young                  Georgia Department of Revenue                        Wells Fargo
Attention: Bankruptcy                               Compliance Division, ARCS - Bankruptcy               8480 Stagecoach Cir
Po Box 82269                                        1800 Century Blvd. NE                                Frederick, MD 21701
Conyers, GA 30013                                   Suite 9100
                                                    Atlanta, GA 30345




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)1st Franklin Financial Corporation               (u)Wells Fargo Bank, N.A.                            End of Label Matrix
                                                                                                         Mailable recipients     33
                                                                                                         Bypassed recipients      2
                                                                                                         Total                   35
